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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:20-cv-01327

  CO Craft, LLC dba Freshcraft,

          Plaintiff,

  v.

  Grubhub Inc.,

          Defendant.


                STIPULATION AND [PROPOSED] ORDER RE: SETTLEMENT


          Plaintiff CO Craft, LLC d/b/a Freshcraft (“Plaintiff”) and Defendant Grubhub Inc.

  (“Grubhub”) (collectively the “Parties”), through their respective counsel, hereby inform this

  Court as follows:

          WHEREAS, the Parties agreed to engage in class-wide settlement discussions in August

  2020;

          WHEREAS, the Parties retained the services of the Honorable Diane M. Welsh, United

  States Magistrate Judge for the Eastern District of Pennsylvania (Ret.), a well-respected mediator

  with Judicial Arbitration and Mediation Services (JAMS);

          WHEREAS, the Parties exchanged documents and information, actively engaged in

  settlement discussions, and participated in three separate day-long virtual mediation sessions that

  were facilitated by Judge Welsh, each of which ended without resolution;

          WHEREAS, the Parties continued their active settlement discussions with the assistance

  of Judge Welsh and reached a class-wide settlement subject to this Court’s approval

  (“Settlement”);
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         WHEREAS, Plaintiff intends, solely for purposes of the Settlement, to request that the

  Court certify the following settlement class:

         All restaurants, convenience stores, markets, grocery stores, and other food service
         businesses in the United States or its territories that were listed or otherwise
         included by Grubhub on Grubhub Platforms that did not have an unterminated
         contract, partnership, or other agreement to be listed or otherwise included on
         Grubhub Platforms at any time from May 11, 2016, until the Settlement
         Agreement’s Effective Date. Excluded from the class are: (a) all persons who are
         employees, directors, officers, or agents of Grubhub; (b) government entities; and
         (c) the Court, the Court’s immediate family, and Court staff; and

         WHEREAS, the Parties will submit their Settlement for approval by this Court as provided

  under Fed. R. Civ. P. 23(e). If this Court does not approve the Settlement, then the Parties shall

  be deemed to have reverted nunc pro tunc to their respective statuses in the action prior to

  Settlement, without any prejudice in any way from the negotiation, fact, or terms of the Settlement,

  and any document, court filing, or court order created, executed, or entered to effectuate the

  Settlement shall be deemed null, void ab initio, and may not be used in any proceeding against

  either Party.

         NOW, THEREFORE, Plaintiff and Grubhub STIPULATE and AGREE that:

         1.       All deadlines in the action should be vacated; and

         2.       Plaintiff shall file a motion for preliminary approval of the Settlement within forty-

  five (45) days of the date of this Stipulation and [Proposed] Order re: Settlement.




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    Dated: February 24, 2021

    THE LAW OFFICES OF ROSS ZIEV, P.C.          COZEN O’CONNOR

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    Attorneys for Plaintiff CO Craft, LLC       Attorneys for Defendant Grubhub Inc.
    d/b/a Freshcraft



  SO ORDERED:



  Dated: ___________________                     ___________________________________
                                                 William J. Martinez,
                                                 United States District Court Judge




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on February 24, 2021, I electronically filed the foregoing document

  using the CM/ECF system, which will send notification of such filing to all current counsel of

  record. Pursuant to D.C. Colo. L. Civ. R. 6.1(c), I hereby certify that I also served a copy of this

  motion on my client.



                                                       /s/ Laura L. Sheets
                                                       Laura L. Sheets
